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     UNITED STATES BANKRUPTCY COURT
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     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)
     KIRKLAND & ELLIS LLP
     KIRKLAND & ELLIS INTERNATIONAL LLP
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     Emily E. Geier, P.C. (admitted pro hac vice)
                                                                                  Order Filed on July 27, 2023
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     Co-Counsel for Debtors and Debtors in Possession


     In re:                                                             Chapter 11

     BED BATH & BEYOND INC., et al.,                                    Case No. 23-13359 (VFP)

              Debtors.1                                                 (Jointly Administered)




  DATED: July 27, 2023




 1
        The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
        Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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                    ORDER (I) AUTHORIZING AND
        ESTABLISHING PROCEDURES FOR THE COMPROMISE AND
   SETTLEMENT OF DE MINIMIS CLAIMS, (II) APPROVING THE FORM AND
 MANNER OF NOTICE OF SETTLEMENT, AND (III) GRANTING RELATED RELIEF

       The relief set forth on the following pages, numbered three (3) through thirteen (13), is

 ORDERED.
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                           RELIEF

         Upon the Debtors’ Motion for Entry of an Order (I) Authorizing and Establishing

 Procedures for the Compromise and Settlement of De Minimis Claims, (II) Approving the Form

 and Manner of the Notice of Settlement, and (III) Granting Related Relief (the “Motion”),2 of the

 above-captioned debtors and debtors in possession (collectively, the “Debtors”), for entry of an

 order (this “Order”) (a) authorizing and approving the procedures for compromise and settlement

 of certain claims, cross-claims, litigation, and causes of action (collectively, the “De Minimis

 Claims”), without further Court approval; (b) approving the proposed form and manner of notice

 that will be provided to the affected creditors (the “Settlement Notice”), substantially in the form

 attached hereto as Exhibit 1; and (c) granting related relief, all as more fully set forth in the

 Motion; and upon the First Day Declaration; and the Court having jurisdiction to consider the

 Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing

 Order of Reference to the Bankruptcy Court Under Title 11 of the United States District Court for

 the District of New Jersey, entered July 23, 1984, and amended on September 18, 2012

 (Simandle, C.J.); and this Court having found that venue of this proceeding and the Motion in this

 district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

 relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

 other parties in interest; and this Court having found that the Debtors’ notice of the Motion was

 appropriate under the circumstances and no other notice need be provided; and this Court having

 reviewed the Motion and having heard the statements in support of the relief requested therein at


 2
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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 a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

 factual bases set forth in the Motion establish just cause for the relief granted herein; and upon all

 of the proceedings had before the Court and after due deliberation and sufficient cause appearing

 therefor IT IS HEREBY ORDERED THAT:

         1.      The Motion is GRANTED as set forth herein.

         2.      The relief requested in the Motion is in the best interests of the Debtors, their

 estates, their creditors, and other parties in interest.

         3.      The Debtors are authorized to enter into Settlements in accordance with the

 following Settlement Procedures:

         a.      No Settlement will be effective unless it is executed by an authorized representative
                 of the Debtors;

         b.      A full release of the Debtors and/or the settling party may be included in the
                 Settlement;

         c.      With regard to any Settlement in an amount equal to or less than $50,000 for: (i) the
                 settlement of a De Minimis Claim or (ii) in satisfaction of multiple related De
                 Minimis Claims in the aggregate:

                         i.      The affected Debtor or Debtors are authorized to settle, with the
                                 consent of the DIP Agent, such De Minimis Claim or De Minimis
                                 Claims (including for the avoidance of doubt, any related
                                 cross-claims) if the terms of the Settlement are reasonable in the
                                 judgment of the affected Debtor upon consideration of: (A) the
                                 probability of success if the claim is litigated or arbitrated; (B) the
                                 difficulty in collecting any judgment; (C) the complexity, expense,
                                 and likely duration of any litigation or arbitration with respect to the
                                 claim; (D) other factors relevant to assessing the wisdom of the
                                 Settlement; and (E) the fairness of the Settlement to such Debtor’s
                                 estate, creditors and shareholders, taking into account the prepetition
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                             or postpetition nature of the De Minimis Claim or De Minimis
                             Claims in issue; and

                      ii.    Such affected Debtor may, in its discretion, enter into, execute, and
                             consummate a written agreement of settlement that will be binding
                             on it or its estate without notice by such Debtor to any third party or
                             further action by this Court.

        d.     With regard to any Settlement that is in an amount greater than $50,000 but does
               not exceed $1 million, for: (i) the settlement of a De Minimis Claim or (ii) in
               satisfaction of multiple related De Minimis Claims in the aggregate:

                      i.     A Debtor is authorized to settle, with the consent of the DIP Agent,
                             such De Minimis Claim or De Minimis Claims (including for the
                             avoidance of doubt, any related cross-claims) if the terms of the
                             Settlement are reasonable in the judgment of the affected Debtor
                             upon consideration of: (A) the probability of success if the claim is
                             litigated or arbitrated; (B) the difficulty in collecting any judgment;
                             (C) the complexity, expense, and likely duration of any litigation or
                             arbitration with respect to the claim; (D) other factors relevant to
                             assessing the wisdom of the Settlement; and (E) the fairness of the
                             Settlement to such Debtor’s estate, creditors and shareholders,
                             taking into account the prepetition or postpetition nature of the De
                             Minimis Claim or De Minimis Claims in issue, subject only to the
                             noticing and objection procedures set forth herein.

                      ii.    Before entering into any such Settlement, the Debtors shall give not
                             fewer than seven (7) calendar days advance written notice, by email
                             or facsimile, if available, or overnight courier if email or facsimile
                             are not available, of such proposed Settlement, on a confidential,
                             professionals’ eyes only basis, to: (i) the U.S. Trustee for the
                             District of New Jersey, (ii) Pachulski Stang Ziehl & Jones LLP,
                             counsel to the Committee), (iii) the agents under the Debtors’
                             prepetition secured facilities and counsel thereto, (iv) the DIP Agent
                             and counsel thereto, (v) any party to the Settlement; and (vi) those
                             parties requesting notice pursuant to Bankruptcy Rule 2002 (each,
                             a “Notice Party” and collectively, the “Notice Parties”).

                      iii.   Such notice will be in substantially the form of the settlement notice
                             attached hereto as Exhibit 1 to Exhibit A (the “Settlement Notice”)
                             and will specify (i) the identity of the other party to the Settlement,
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                           (ii) a summary of the dispute with such other party, and (iii) an
                           explanation of why the Settlement of such De Minimis Claim is
                           favorable to the Debtors, their estates, and their creditors.

                     iv.   The Notice Parties may object to a proposed Settlement by filing
                           such objection with the Court by no later than 5:00 p.m., prevailing
                           Eastern Time, seven (7) calendar days after delivery of a Settlement
                           Notice (“the Objection Deadline”), and serving such objection on:
                           (i) the Debtors, Bed Bath & Beyond Inc., 650 Liberty Avenue,
                           Union, New Jersey 07083; (ii) co-counsel to the Debtors, Kirkland
                           & Ellis LLP, 601 Lexington Avenue, New York, New York 10022,
                           Attn: Joshua A. Sussberg, P.C., Emily E. Geier, P.C., Derek I.
                           Hunter; (iii) co-counsel to the Debtors, Cole Schotz P.C., Court
                           Plaza North, 25 Main Street, Hackensack, New Jersey 07601,
                           Michael D. Sirota, Esq., Warren A. Usatine, Esq., and Felice R.
                           Yudkin, Esq; (iv) the DIP Agent and counsel thereto, Proskauer
                           Rose LLP, 11 Times Square, New York, New York 10036,
                           Attn: David Hillman and Charles A. Dale; (v) counsel for the
                           Committee, Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue,
                           34th Floor, New York, New York 10017, Attn: Robert J. Feinstein,
                           Bradford J. Sandler, Paul J. Labov, and Colin R. Robinson; and
                           (vi) Office of the U.S. Trustee, One Newark Center, 1085 Raymond
                           Boulevard, Suite 2100, Newark, New Jersey 07102, Attn: Fran
                           Steele, John Schanne, and Alexandria Nikolinos.

                     v.    The Notice Parties may request additional time or additional
                           information to evaluate the proposed Settlement in writing by no
                           later than the Objection Deadline and serve such request on counsel
                           to the Debtors. If a Notice Party provides a written request to
                           counsel for the Debtors for additional information or additional time
                           to evaluate the proposed Settlement, then the Objection Deadline
                           with respect to such Notice Party shall be (i) in the case of a request
                           for additional time, five (5) days after the initial Objection Deadline,
                           or (ii) in the case of a request for additional information,
                           three (3) days after receipt by the Notice Party of the additional
                           information requested. Each Notice Party may make only one
                           request for additional time per Settlement Notice, unless otherwise
                           agreed to by the Debtors in their sole discretion.
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                      vi.     If no written objection from any Notice Party is properly filed and
                              served by the Objection Deadline, such affected Debtor may, in its
                              discretion, enter into, execute, and consummate a written agreement
                              of settlement that will be binding on it and its estate without notice
                              by such Debtor to any third party or further action by this Court.

                      vii.    If any of the Notice Parties properly and timely object to any
                              Settlement in writing by the Objection Deadline, and the Debtors, in
                              their sole discretion, still desire to enter into the proposed Settlement
                              with the settling party, the execution of the Settlement shall not
                              proceed except upon (A) resolution of the objection by the parties in
                              question, or (B) further order of the Court after notice and a hearing.

                      viii.   Should a hearing on a Settlement be required pursuant to the
                              Settlement Procedures, the Debtors are authorized to schedule their
                              request to approve the Settlement for a hearing at the next scheduled
                              omnibus hearing following the Objection Deadline, or any
                              subsequent hearing, without filing a separate motion or other
                              pleading.

                      ix.     All time periods set forth in the Notice Procedures shall be
                              calculated in accordance with Bankruptcy Rule 9006.

        e.     Any Settlement that is not authorized pursuant to the foregoing procedures, or
               pursuant to any other order of this Court, will be authorized only upon separate
               order of this Court upon a motion of the appropriate Debtor(s) served upon the
               necessary parties in interest.

        f.     On a monthly basis, beginning 30 days after entry of an Order granting this Motion,
               the Debtors will provide to the Notice Parties a report of all Settlements that the
               Debtors entered into during the previous month pursuant to the Settlement
               Procedures. Such reports will set forth the name of the parties with whom the
               Debtors have settled a De Minimis Claim, the asserted claim amount (if applicable),
               the types of De Minimis Claims asserted by each settling party, and the terms and
               amounts for which such De Minimis Claims were settled.

        g.     With respect to any and all De Minimis Claims asserted by the Debtors or in
               satisfaction of multiple De Minimis Claims in the aggregate brought by the Debtors
               against a non-Debtor third party:
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                            i. A Debtor is authorized to settle, with the consent of the DIP Agent,
                               such De Minimis Claim(s) if the terms of the Settlement are
                               reasonable in the judgment of the affected Debtor upon
                               consideration of: (A) the probability of success if the claim is
                               litigated or arbitrated; (B) the difficulty in collecting any judgment;
                               (C) the complexity, expense, and likely duration of any litigation or
                               arbitration with respect to the claim; (D) other factors relevant to
                               assessing the wisdom of the Settlement; and (E) the fairness of the
                               Settlement to such Debtor’s estate, creditors and shareholders,
                               taking into account the prepetition or postpetition nature of the De
                               Minimis Claim or De Minimis Claims in issue; and

                     ii.       Before entering into any such Settlement, the Debtors shall give not
                               fewer than seven (7) calendar days’ advance written notice, by email
                               or facsimile, if available, or overnight courier if email or facsimile
                               are not available, of such proposed Settlement, on a confidential,
                               professionals’ eyes only basis, to the Notice Parties.

                     iii.      Such notice will be in substantially the form of the Settlement
                               Notice and will specify (i) the identity of the other party to the
                               Settlement, (ii) a summary of the dispute with such other party, and
                               (iii) an explanation of why the Settlement of such De Minimis Claim
                               is favorable to the Debtors, their estates, and their creditors.

                     iv.       The Notice Parties may object to a proposed Settlement by filing
                               such objection with the Court by the Objection Deadline and serving
                               such objection on: (i) the Debtors, Bed Bath & Beyond Inc.,
                               650 Liberty Avenue, Union, New Jersey 07083; (ii) co-counsel to
                               the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New
                               York, New York 10022, Attn: Joshua A. Sussberg, P.C., Emily E.
                               Geier, P.C., Derek I. Hunter; (iii) co-counsel to the Debtors, Cole
                               Schotz P.C., Court Plaza North, 25 Main Street, Hackensack, New
                               Jersey 07601, Michael D. Sirota, Esq., Warren A. Usatine, Esq., and
                               Felice R. Yudkin, Esq; (iv) the DIP Agent and counsel thereto,
                               Proskauer Rose LLP, 11 Times Square, New York, New
                               York 10036, Attn: David Hillman and Charles A. Dale; (v) counsel
                               for the Committee, Pachulski Stang Ziehl & Jones LLP, 780 Third
                               Avenue, 34th Floor, New York, New York 10017, Attn: Robert J.
                               Feinstein,    Bradford     J.     Sandler,    Paul J. Labov,    and
                               Colin R. Robinson; and (vi) Office of the U.S. Trustee, One Newark
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                               Center, 1085 Raymond Boulevard, Suite 2100, Newark, New Jersey
                               07102, Attn: Fran Steele, John Schanne, and Alexandria Nikolinos.

                       v.      If no written objection from any Notice Party is properly filed and
                               served by the Objection Deadline, such affected Debtor may, in its
                               discretion, enter into, execute, and consummate a written agreement
                               of settlement that will be binding on it and its estate without notice
                               by such Debtor to any third party or further action by this Court.

                       vi.     If any of the Notice Parties properly and timely object to any
                               Settlement in writing by the Objection Deadline, and the Debtors, in
                               their sole discretion, still desire to enter into the proposed Settlement
                               with the settling party, the execution of the Settlement shall not
                               proceed except upon (A) resolution of the objection by the parties in
                               question, or (B) further order of the Court after notice and a hearing.

                       vii.    Should a hearing on a Settlement be required pursuant to the
                               Settlement Procedures, the Debtors are authorized to schedule their
                               request to approve the Settlement for a hearing at the next scheduled
                               omnibus hearing following the Objection Deadline, or any
                               subsequent hearing, without filing a separate motion or other
                               pleading.

                       viii.   All time periods set forth in the Notice Procedures shall be
                               calculated in accordance with Bankruptcy Rule 9006.

        4.      Notwithstanding anything herein to the contrary, the Settlement Procedures shall

 not apply to (a) claims asserted against the Debtors by any insider or affiliate within the meaning

 of sections 101(31) and 101(2) of the Bankruptcy Code, respectively, and (b) claims asserted by

 the Debtors against any insider or affiliate within the meaning of sections 101(31) and 101(2) of

 the Bankruptcy Code, respectively.

        5.      Pursuant to Bankruptcy Rule 9006, cause exists to shorten the applicable notice

 period in Bankruptcy Rule 2002(a)(3) with respect to each Settlement.
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        6.      Upon the expiration of the applicable Notice Period without an objection or upon

 resolution of any filed objection after the applicable Notice Period, each Settlement that complies

 with the Settlement Procedures shall be deemed (i) fair and reasonable, and (ii) to have satisfied

 the standards under Bankruptcy Code sections 105 and 363 and Bankruptcy Rule 9019.

        7.      The Debtors are authorized to compromise and settle De Minimis Claims in

 accordance with the Settlement Procedures.

        8.      The Debtors are authorized to resolve all of the De Minimis Claims of a single party

 in a single settlement agreement.

        9.      Notwithstanding anything to the contrary in the Motion, this Order, the Settlement

 Procedures, or any notice pursuant thereto, the Settlement Procedures approved by this Order shall

 not apply to (a) worker’s compensation claims; (b) claims where there is a judgment entered or

 settlement already agreed to and signed by all applicable parties; (c) direct action claims against

 any of the Debtors’ insurers under applicable non-bankruptcy state law; or (d) any claims or actions

 relating to any claims between the Debtors’ insurers, on the one hand, and the Debtors, on the

 other hand.

        10.     Nothing in this Order, the Settlement Procedures, or any notice pursuant thereto

 (a) amends, modifies or otherwise alters (i) the terms and conditions of any insurance policies

 issued to the Debtors and any related agreements (collectively, the “Insurance Policies”),

 including, but not limited to, any provisions (A) requiring certain notice to insurers regarding

 claims possibly covered under the Insurance Policies, (B) allowing an insurer to assume and/or
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 control the defense or settlement of claims possibly covered under the Insurance Policies,

 (C) requiring the approval of any insurer prior to settlement of or payment on account of any claims

 possibly covered under the Insurance Policies, or (D) regarding payment of and liability for

 self-insured retentions or deductibles; or (ii) either the duty or right, if any, under the Insurance

 Policies or applicable non-bankruptcy law of insurers to (A) pay claims covered by the Insurance

 Policies and seek payment or reimbursement from the insured therefor pursuant to the terms of the

 Insurance Policies, or (B) reduce any payment from insurance proceeds by any amount received

 by a claimant on account of the same claim from another source including, but not limited to, the

 Debtors or the Debtors’ estates; (b) creates or permits a direct right of action against any of the

 Debtors’ insurers; (c) obligates an insurer to be bound by a settlement; or (d) requires an insurer

 to pay, in whole or in part, a settlement.

        11.     The     Debtors    shall      provide   written   notice   to   Kroll   Restructuring

 Administration LLC (“Kroll”), the Debtors’ authorized claims and noticing agent, with respect to

 any proof of claim settled pursuant to these Settlement Procedures; provided that, if applicable,

 Kroll is authorized and directed to amend the claims register accordingly without further order of

 the Court.

        12.     Assuming no objection has been filed by the applicable Objection Deadline,

 immediately after the expiration of the Notice Period, the settlement agreement shall be deemed

 to be a final order of this Court for all purposes, including for purposes of any appeal.
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         13.      In the event there is an inconsistency between the Motion and this Order, this Order

 shall control.

         14.      This Court retains jurisdiction to hear and determine all matters arising from or

 related to the Motion, this Order, or any Settlement.

         15.      Nothing in this Order shall alter or limit any authorization, requirement or relief

 contained in, or prevent BBB Canada Ltd. and Bed Bath & Beyond Canada L.P.

 (collectively, “BBB Canada”) from taking any action authorized pursuant to, or required by, the

 CCAA, the Initial Order in respect of BBB Canada (the “Initial Order”) issued by the Ontario

 Superior Court of Justice (Commercial List) (the “CCAA Court”) in proceedings in respect of

 BBB Canada pursuant to the Companies’ Creditors Arrangement Act (Canada) or any Order

 granted thereunder, and, to the extent of any inconsistency between the Order and the terms of the

 Initial Order or any other order of the CCAA Court or the CCAA, the order of the CCAA Court

 or the CCAA, as applicable, shall govern with respect to BBB Canada.

         16.      The requirements set forth in Bankruptcy Rule 6003(b) are satisfied by the contents

 of the Motion or otherwise deemed waived.

         17.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

         18.      Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, this Order shall

 be effective and enforceable immediately upon entry hereof.
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        19.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

 by such notice.

        20.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        21.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.
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                                    Exhibit 1

                            Proposed Settlement Notice
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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BED BATH & BEYOND INC., et al.,                                Case No. 23-13359 (VFP)

                                         Debtors.1              (Jointly Administered)



                                            NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that on April 23, 2023, the above-captioned debtors and
 debtors-in-possession (collectively, the “Debtors”) filed voluntary petitions for relief under
 chapter 11 of the Bankruptcy Code, 11 U.S.C. §§ 101–1532.




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        The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
        Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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          PLEASE TAKE FURTHER NOTICE that, on [____], 2023, the United States
 Bankruptcy Court for the District of New Jersey (the “Court”) approved an Order (I) Authorizing
 and Establishing Procedures for the Compromise and Settlement of De Minimis Claims,
 (II) Approving the Form and Manner of Notice of Settlement, and (III) Granting Related Relief
 [Docket No. [●]] (the “Settlement Procedures Order”), whereby the Court authorized the Debtors
 to settle certain prepetition or postpetition claims and causes of action brought by or against the
 Debtors in a judicial, administrative, arbitral, or other action or proceeding (collectively,
 the “De Minimis Claims”).

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Settlement Procedures Order,
 any recipient of this notice may object to the proposed settlement within seven (7) calendar days
 of service of this notice. Objections must: (i) be in writing; (ii) be received within
 seven (7) calendar days of service of this notice (the “Objection Deadline”); and (iii) be
 submitted by mail, email, or facsimile to (i) the Debtors, Bed Bath & Beyond Inc., 650 Liberty
 Avenue, Union, New Jersey 07083; (ii) co-counsel to the Debtors, Kirkland & Ellis LLP,
 601 Lexington Avenue, New York, New York 10022, Attn: Joshua A. Sussberg, P.C., Emily E.
 Geier, P.C., Derek I. Hunter; (iii) co-counsel to the Debtors, Cole Schotz P.C., Court Plaza North,
 25 Main Street, Hackensack, New Jersey 07601, Michael D. Sirota, Esq., Warren A. Usatine, Esq.,
 and Felice R. Yudkin, Esq; (iv) the DIP Agent and counsel thereto, Proskauer Rose LLP, 11 Times
 Square, New York, New York 10036, Attn: David Hillman and Charles A. Dale; (v) counsel for
 the Committee, Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New York,
 New York 10017, Attn: Robert J. Feinstein, Bradford J. Sandler, Paul J. Labov, and
 Colin R. Robinson; and (vi) Office of the U.S. Trustee, One Newark Center, 1085 Raymond
 Boulevard, Suite 2100, Newark, New Jersey 07102, Attn: Fran Steele, John Schanne, and
 Alexandria Nikolinos. If you file a written objection with the Court by the Objection
 Deadline, the Debtors may only settle the De Minimis Claim(s) upon submission of a
 consensual form of order resolving the objection as between you and the Debtors, or upon
 further order of the Court approving the settlement of such De Minimis Claim(s).




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